Case 1:05-cr-10007-.]DT Document 5 Filed 06/24/05 Page 1 of 2 Page|D 4

UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TENNESSEE
Eastern Division

 

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//~`//.V./S OFQCYJ?"
_vs- ease No. 1:05cr1000 soqji,;_l§/

ERIC ELMO PETERSON

 

ORDER APPOINTING COUNSEL PURSUANT TO
THE CRIMINAL JUSTICE ACT

'l`his Court has determined that the above-named defendant is financially unable to obtain adequate
representation in the above-styled case, and is otherwise qualified for appointment of counsel Accordingly,
the Court makes the following appointment pursuant to the Criminal Justice Act (18 U.S.C. § 3006A)‘.

APPOINTMENT OF COUNSEL
' The F ederal Public Defender is appointed as counsel for the Defendant.
TYPE OF APPOINTMENT

° All purposes including trial and appeal

DONE and ORDERED in lll South Highland, Jacl<son, TN this ,.,-Qj§)|-{! day ofJune,

2005.

S. THOMAS ANDERSON
UNITED STATES MAGISTRATE JUDGE

Copies furni shed to:

United States Attorney

United States Marshal

Pretrial Services Offiee

Assistant Federal Publio Defender

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hrs document entered on the docket sheet In compliance

with F\ule 55 and/or 32(b) FHCrP on w ®

ISTRIC COURT - WESERNT D"'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 5 in
case 1:05-CR-10007 Was distributed by faX, mail, or direct printing on
June 24, 2005 to the parties listed.

 

 

J ames W. PoWell

U.S. ATTORNEY'S OFFICE
109 S. Highland Ave.

Ste. 300

Jacl<son, TN 38301

Honorable J ames Todd
US DISTRICT COURT

